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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                EASTERN DIVISION

 UNITED STATES OF AMERICA,                   )
                                             )
               Plaintiff,                    )
                                             )
 v.                                          )         Cr. No. 17-10067-STA
                                             )
 DEENA ORR,                                  )
                                             )
        Defendant.                           )

            ORDER AND NOTICE OF RESETTING
        The Court having considered the Joint Motion to Convert Current Setting to a Status

 Conference or, in the Alternative, Continue the Hearing,

        IT IS HEREBY ORDERED that the sentencing for defendant Deena Orr, originally set

 for Friday, March 30, 2018 at 9:00 a.m. is RESET to Tuesday, April 3, 2018 at 10:00 a.m.


              IT IS SO ORDERED this 26th day of March, 2018.


                                             s/ S. Thomas Anderson
                                             S. THOMAS ANDERSON
                                             CHIEF UNITED STATES DISTRICT JUDGE




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